






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00732-CR






Kristina Morgan Aust, a.k.a. Lisa Morgan Aust, 

a.k.a. Elizabeth Ann Morgan, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF LLANO COUNTY, 33RD JUDICIAL DISTRICT

NO. 5683, HONORABLE GUILFORD L. JONES III, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	In 2005, appellant Kristina Morgan Aust (1) was charged by indictment of bribery.  See
Tex. Penal Code Ann. § 36.02 (West 2003).  In January 2006, the trial court signed an order of
deferred adjudication.  About three months later, the State moved to adjudicate appellant's guilt,
alleging that she had tested positive for illegal drugs and alcohol and failed to report to her probation
officer, complete required community service hours, or attend drug treatment.  Appellant contested
the State's allegations, and after conducting a hearing on the State's motion, the trial court entered
a judgment adjudicating her guilt and sentencing her to eight years' imprisonment.  Appellant's
appointed attorney has filed a brief concluding that the appeal is frivolous and without merit.  

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969). 
Appellant's attorney sent appellant a copy of the brief and advised her that she had the right to
examine the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State,
485&nbsp;S.W.2d 553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	We have considered the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We have reviewed the evidence presented to the jury and the
procedures that were observed and find nothing in the record that might arguably support the appeal. 
We grant counsel's motion to withdraw and affirm the judgment of conviction. (2) 


					___________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Affirmed

Filed:   August 28, 2008

Do Not Publish
1.   Appellant also goes by the names Lisa Morgan Aust and Elizabeth Ann Morgan.
2.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
her case by the court of criminal appeals, she must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5. 


